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                               Certification of Service Pg 1 of 4


                                                     Hearing Date and Time: December 6, 2011 at 10:00 a.m.
                                                         Objection Deadline: November 4, 2011 at 4:00 p.m.


BUCHANAN INGERSOLL & ROONEY PC
620 Eighth Avenue, 23rd floor
New York, NY 10018-1669
(212) 440-4400 - Telephone
(212) 440-4401 - Facsimile
William H. Schorling
Christopher P. Schueller (CS9525)
Donald E. Malecki
Zakarij O. Thomas
Attorneys for Greenbrier Minerals Holdings, LLC


                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


IN RE:                                         :       CASE NO. 08-13555 (JMP)
                                               :
LEHMAN BROTHERS HOLDINGS,                      :
INC., et al                                    :       Chapter 11
                                               :
                Debtors.                       :       (Jointly Administered)
                                               :

                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 4, 2011, I caused to be served the Objection of

Greenbrier Minerals Holdings, LLC to Third Amended Joint Chapter 11 Plan upon the persons

and entities listed on the attached service list as noted thereon.
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New York, New York

Dated: November 4, 2011        BUCHANAN INGERSOLL & ROONEY PC

                               /s/ Christopher P. Schueller ____
                               William H. Schorling, Esquire
                               Christopher P. Schueller (CS9525)
                               Donald E. Malecki, Esquire
                               Timothy P. Palmer, Esquire
                               Zakarij O. Thomas, Esquire
                               620 Eighth Ave., 23rd Floor
                               New York, NY 10018
                                (212) 440-4400 - Telephone
                                (212) 440-4401 - Facsimile

                               Counsel for Greenbrier Minerals Holdings, LLC




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                                     Service List

Via Hand Delivery:

Honorable James M. Peck
United States Bankruptcy Court
One Bowling Green
Courtroom 601
New York, NY 10004-1408

Counsel for Debtor
Weil Gotshal & Manges LLP - Plan
767 Fifth Avenue
New York, NY 10153
Attn: Harvey R. Miller
       Lori R. Fife
       Alfredo R. Perez

Counsel for Debtor
Weil Gotshal & Manges LLP-Standard Party
767 Fifth Avenue
New York, NY 10153
Attn: Attn: Richard P. Krasnow
       Lori R. Fife
       Shai Y. Waisman
       Jacqueline Marcus

Office of the United States Trustee -Plan
Southern District of New York
33 Whitehall Street, 21st Floor
New York, NY 10004
Attn: Elisabetta Gasparini
       Andrea Schwartz

Office of the United States Trustee-Standard Party
Southern District of New York
33 Whitehall Street, 21st Floor
New York, NY 10004
Attn: Andy Velez-Rivera
       Paul Schwartzberg
       Brian Masumoto
       Linda Riffkin
       Tracy Hope Davis




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                             Certification of Service Pg 4 of 4



Counsel for Official Committee of Unsecured Creditors
Milbank, Tweed, Hadley & McCloy LLP-Plan and Standard Party
1 Chase Manhattan Plaza
New York, NY 10005
Attn: Dennis F. Dunne
       Dennis O’Donnell
       Evan Fleck

Counsel for Official Committee of Unsecured Creditors
Quinn Emanuel Urquhart Oliver & Hedges, LLP- Standard Party
51 Madison Avenue, 22nd Floor
New York, NY 10010
Attn: Susheel Kirpalani



All other interested parties served via ECF Notification.




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